Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 1 of 54




                Exhibit B
             Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 2 of 54
Paragon International       Telephone                       Website
Insurance Brokers           +44 (0)20 7280 8200             www.paragonbrokers.com
140 Leadenhall Street       Facsimile                       Email
London EC3V 4QT             +44 (0)20 7280 8270             info@paragonbrokers.com




EDGEWOOD PARTNERS INSURANCE CENTER
One California Street
Suite 400
San Francisco
California 94111
United States of America



Our Reference: B0146 ERINT2200905

Date: 5th August 2022

Insured: Paper Bird Inc.

Further to your instructions to bind coverage we have effected insurance in accordance with the attached contract.

Please examine this contract carefully and notify us immediately if it is incorrect, does not meet your requirements,
or if the insurer(s) is / are unacceptable.

Duty to Disclose:

The insurance cover is based on the information you provided to us and on which we and the insurer(s) have
relied. If you have not provided to us all material information or you discover that the information you have
provided is inaccurate, please advise us immediately in order that we may seek revalidation of terms with the
insurer(s).

We take this opportunity to remind you that you have a duty to disclose all information which a) is material to the
coverage requirements, b) might influence the insurer(s) in deciding whether or not to accept your business, c)
might affect which terms and conditions the insurer(s) impose, or d) might affect the premium the insurer(s) charge.
This duty to disclose is an ongoing responsibility for the duration of the contract and failure to make such disclosure
may allow the insurer(s) to cancel the policy, avoid a claim or even avoid the contract.

Premium Payment Terms:

We draw your attention to the premium payment terms. Payment of the premium is a condition of the contract. If
the insurer(s) have imposed a payment warranty you must make sure that the premium is paid to us early enough
to give us sufficient time to pay the insurer(s). Failure to pay the premium or to meet a payment warranty may
enable the insurer(s) to avoid the contract.

Claims:

In the event of any claim or circumstance that might lead to a claim, please follow the instructions in the attached
contract. If you have any questions relating to claims or doubts as to what constitutes a circumstance then please
contact Simon Witham on +44 (0)20 7280 8227 or switham@paragonbrokers.com

Should you have any questions please feel free to contact us.

Yours sincerely,




Director / Authorised Signatory


Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
             Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 3 of 54




                      PARAGON INTERNATIONAL INSURANCE BROKERS LIMITED



                                                CONTRACT OF INSURANCE


Unique Market Reference: B0146 ERINT2200905




Thank you for choosing Paragon International Insurance Brokers Limited for your Insurance requirements.


This document contains the full terms and conditions of your Insurance. It is a legal document that you must read to
ensure that you understand what is covered and what is excluded by your Insurance.


If you have any questions or concerns please contact us; we would be happy to hear from you.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
             Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 4 of 54




Important Information
(Please Read Carefully)


Material Facts
All material facts must be disclosed to us. Failure to do so may affect your rights under this insurance. A material fact
is a fact likely to influence an insurer in the acceptance or assessment of this Insurance. If you are uncertain whether
a fact is ‘material’, then for your own protection it should be disclosed to us so that we can advise you.


Policy Terms
The coverage afforded by this insurance is subject to all the terms, conditions and exclusions contained in the
attached contract. You need to review this contract to make sure it accurately reflects the coverage that you require.
If you have any questions or concerns about this insurance, you should first contact us at the address set out below.


Subjectivities
If this contract contains subjectivities then you must take the necessary steps to provide the information requested by
insurers and / or comply with their instructions. Failure to comply with the subjectivities may limit or restrict some, or
all, of the coverage under this insurance. In some instances insurers may be able to avoid the contract.


Our Services
We are committed to providing you with a high quality service, which we expect to maintain throughout the duration of
the policy. In order for you to appreciate this level of service we ask that in the first instance you carefully read
through this document to ensure that you understand the extent of the coverage provided, the terms, conditions and
exclusions that apply. In particular please note what is required of you if and when you become aware of a claim, or a
circumstance which may give rise to a claim, being made against you.

Contact Address:
Paragon International Insurance Brokers Ltd.,
140, Leadenhall Street,
London,
EC3V 4QT


Tel:       020 7280 8200
Fax:       020 7280 8270
Email:     info@paragonbrokers.com

.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 5 of 54
                          PARAGON INTERNATIONAL INSURANCE BROKERS LTD.
SLIP NUMBER:   B0146ERINT2200905                                                                          PAGE 1 OF 5



                                                 RISK DETAILS:


UNIQUE MARKET
REFERENCE:                  B0146ERINT2200905


TYPE:                       PRIMARY CLAIMS MADE DIRECTORS AND OFFICERS LIABILITY INSURANCE.


PARENT COMPANY:             PAPER BIRD INC.


PRINCIPAL
ADDRESS:                    101 Second Street, Ste 200
                            San Francisco
                            California 94105
                            United States of America


POLICY PERIOD:              From:   4 August 2022
                            To:     4 August 2023

                            Both days at 12.01 a.m. Local Time at the Principal Address stated above.


INTEREST:                   Directors and Officers Liability as more fully defined in the wording.


LIMIT OF LIABILITY:         USD5,000,000               in the aggregate for the Policy Period, but sublimited to:

                            USD250,000                 in the aggregate for the Policy Period for all Mitigation Costs.

                            Such Sublimit of Liability shall be part of and not in addition to the overall Limit of
                            Liability stated above.


TERRITORIAL
SCOPE:                      Worldwide, as per policy wording.


CONDITIONS:                 1.  Policy wording: Advanced Armour Boardroom Protection (amended) wording plus
                                amendments detailed herein.
                            2. 12 months Optional Extension Period at 150% Additional Premium (as per Item E
                                of the declarations.
                            3. Predetermined Run-Off Period:
                                36 months at premium to be determined by Underwriters at time of Corporate
                                Takeover
                                72 months at premium to be determined by Underwriters at time of Corporate
                                Takeover
                            4. Notifications pursuant to Clause VI shall be given to: Beazley Claims Services,
                                30 Batterson Park Road, Farmington, Connecticut 06032, United States of
                                America or claims@beazley.com (with copy to claims@paragonbrokers.com)
                            5. Inquiry Coverage Date: 4 August 2021
                            6. Service of Suit Nominee: Lloyd’s America, Inc., Attention: Legal Department, 280
                                Park Avenue, East Tower, 25th Floor, New York, New York 10017, United States
                                of America
                            7. Prior and Pending Litigation Date: 4 August 2021
                            8. NMA45 (amended) New Short Rate Cancellation Table Endorsement
                            9. Special Cancellation Clause
                            10. Sanction Limitation and Exclusion Clause
                            11. FTX - Offering/Listing of Securities Exclusion with Roadshow Carveback
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 6 of 54
                          PARAGON INTERNATIONAL INSURANCE BROKERS LTD.
SLIP NUMBER:   B0146ERINT2200905                                                                           PAGE 2 OF 5

                            12. West Realm Shires Services Inc. Exclusion
                            13. Amended Insolvency Extension Period Endorsement


NOTICES:                    1.     LMA9098B California Surplus Lines Notice
                            2.     LMA9030 California Surplus Lines Notice
                            3.     LMA9185 (amended) Policyholder Disclosure Notice of Terrorism Insurance
                                   Coverage (USD1.00 allocated premium)


SUBJECTIVITIES:             None


CHOICE OF LAW
AND JURISDICTION
(DISPUTES CLAUSE):          Choice of Law: Status of California, as per Choice of Law Clause
                            Jurisdiction: United States of America, as per Service of Suit Clause


PREMIUM:                    USD500,000 (100%) for the Policy Period plus taxes as applicable.


PREMIUM
PAYMENT TERMS:              45 Day Premium Payment Warranty


TAXES PAYABLE
BY ASSURED AND
ADMINISTERED BY
INSURERS:                   None.


RECORDING,
TRANSMITTING &
STORING
INFORMATION:                Paragon International Insurance Brokers Ltd will maintain risk and claims data,
                            information and documents, which may be held on paper or electronically.


INSURER
CONTRACT
DOCUMENTATION:              This contract documentation details the contract terms entered into by (re)insurer(s)
                            and constituted the contract document. Any further documentation changing this
                            contract agreed in accordance with the contract change provisions set out in this
                            contract shall form the evidence of such change.

                            This contract is subject to US state surplus lines requirements. It is the responsibility of
                            the surplus lines broker to affix a surplus lines notice to the contract document before it
                            is provided to the insured. In the event that the surplus lines notice is not affixed to the
                            contract document the insured should contact the surplus lines broker.
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 7 of 54
                          PARAGON INTERNATIONAL INSURANCE BROKERS LTD.
SLIP NUMBER:   B0146ERINT2200905                                                 PAGE 3 OF 5



                                                INFORMATION


Electronic submission comprising the following attachments:

FDM AML CFT Policy v1.0 – FINAL
FTX Trading Ltd Financial Statements YE 2021 – FINAL
FTX Trading Ltd – Summarised Financial Results Q1 2022
FTX Trading Ltd Summary Capitalization Table, 06.07.2022
Organisation Chart
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 8 of 54
                          PARAGON INTERNATIONAL INSURANCE BROKERS LTD.
SLIP NUMBER:   B0146ERINT2200905                                                                                PAGE 4 OF 5



                                                SECURITY DETAILS


INSURERS
LIABILITY:                  (RE) INSURERS LIABILITY SEVERAL NOT JOINT

                            The liability of a (re)insurer under this contract is several and not joint with other
                            (re)insurers party to this contract. A (re)insurer is liable only for the proportion of
                            liability it has underwritten. A (re)insurer is not jointly liable for the proportion of liability
                            underwritten by any other (re)insurer. Nor is a (re)insurer otherwise responsible for
                            any liability of any other (re)insurer that may underwrite this contract.

                            The proportion of liability under this contract underwritten by a (re)insurer (or, in the
                            case of a Lloyd’s syndicate, the total of the proportions underwritten by all the
                            members of the syndicate taken together) is shown next to its stamp. This is subject
                            always to the provision concerning “signing” below.

                            In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the
                            syndicate itself) is a (re)insurer. Each member has underwritten a proportion of the
                            total shown for the syndicate (that total itself being the total of the proportions
                            underwritten by all the members of the syndicate taken together). The liability of each
                            member of the syndicate is several and not joint with other members. A member is
                            liable only for that member’s proportion. A member is not jointly liable for any other
                            member’s proportion. Nor is any member otherwise responsible for any liability of any
                            other (re)insurer that may underwrite this contract. The business address of each
                            member is Lloyd’s, One Lime Street, London EC3M 7HA. The identity of each
                            member of a Lloyd’s syndicate and their respective proportion may be obtained by
                            writing to Market Services, Lloyd’s, at the above address.

                            Proportion of liability

                            Unless there is “signing” (see below), the proportion of liability under this contract
                            underwritten by each (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the
                            proportions underwritten by all the members of the syndicate taken together) is shown
                            next to its stamp and is referred to as its “written line”.

                            Where this contract permits, written lines, or certain written lines, may be adjusted
                            (“signed”). In that case a schedule is to be appended to this contract to show the
                            definitive proportion of liability under this contract underwritten by each (re)insurer (or,
                            in the case of a Lloyd’s syndicate, the total of the proportions underwritten by all the
                            members of the syndicate taken together). A definitive proportion (or, in the case of a
                            Lloyd’s syndicate, the total of the proportions underwritten by all the members of a
                            Lloyd’s syndicate taken together) is referred to as a “signed line”. The signed lines
                            shown in the schedule will prevail over the written lines unless a proven error in
                            calculation has occurred.

                            Although reference is made at various points in this clause to “this contract” in the
                            singular, where the circumstances so require this should be read as a reference to
                            contracts in the plural.

                            21/6/07
                            LMA3333


ORDER HEREON:               100% of 100%


BASIS OF
WRITTEN LINES:              Percentage of Whole
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 9 of 54
                          PARAGON INTERNATIONAL INSURANCE BROKERS LTD.
SLIP NUMBER:   B0146ERINT2200905                                                                          PAGE 5 OF 5



SIGNING
PROVISIONS:                 In the event that the written lines hereon exceed 100% of the order, any lines written
                            “to stand” will be allocated in full and all other lines will be signed down in equal
                            proportions so that the aggregate signed lines are equal to 100% of the order without
                            further agreement of any of the (re)insurers.

                            However:

                            a)     in the event that the placement of the order is not completed by the
                                   commencement date of the period of insurance then all lines written by that date
                                   will be signed in full;

                            b)     the signed lines resulting from the application of the above provisions can be
                                   varied, before or after the commencement date of the period of insurance, by the
                                   documented agreement of the (re)insured and all (re)insurers whose lines are to
                                   be varied. The variation to the contracts will take effect only when all such
                                   (re)insurers have agreed, with the resulting variation in signed lines commencing
                                   from the date set out in that agreement.


MODE OF
EXECUTION:                  This contract and any changes to it may be executed by:

                            a.     electronic signature technology employing computer software and a digital
                                   signature or digitiser pen pad to capture a person’s handwritten signature in such
                                   a manner that the signature is unique to the person signing, is under the sole
                                   control of the person signing, is capable of verification to authenticate the
                                   signature and is linked to the document signed in such a manner that if the data
                                   is changed, such signature is invalidated;

                            b.     a unique authorisation provided via a secure electronic trading platform

                            c.     a timed and dated authorisation provided via an electronic message/system;

                            d.     an exchange of facsimile/scanned copies showing the original written ink
                                   signature of paper documents;

                            e.     an original written ink signature of paper documents (or a true representation of a
                                   signature, such as a rubber stamp).;

                            The use of any one or a combination of these methods of execution shall constitute a
                            legally binding and valid signing of this contract. This contract may be executed in
                            one or more of the above counterparts, each of which, when duly executed, shall be
                            deemed an original.
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 10 of 54




                              CALIFORNIA SURPLUS LINES NOTICE

                                        IMPORTANT NOTICE

1.   The insurance policy that you have purchased is being issued by an insurer that is not licensed
     by the State of California. These companies are called “nonadmitted” or “surplus line” insurers.

2.   The insurer is not subject to the financial solvency regulation and enforcement that apply to
     California licensed insurers.

3.   The insurer does not participate in any of the insurance guarantee funds created by California
     law. Therefore, these funds will not pay your claims or protect your assets if the insurer
     becomes insolvent and is unable to make payments as promised.

4.   The insurer should be licensed either as a foreign insurer in another state in the United States
     or as a non-United States (alien) insurer. You should ask questions of your insurance agent,
     broker, or “surplus line” broker or contact the California Department of Insurance at the toll-free
     number 1-800- 927-4357 or internet website www.insurance.ca.gov. Ask whether or not the
     insurer is licensed as a foreign or non-United States (alien) insurer and for additional
     information about the insurer. You may also visit the NAIC’s internet website at www.naic.org.
     The NAIC – the National Association of Insurance Commissioners – is the regulatory support
     organization created and governed by the chief insurance regulators in the United States.

5.   Foreign insurers should be licensed by a state in the United States and you may contact that
     state’s department of insurance to obtain more information about that insurer. You can find a
     link to each state from the NAIC internet website: https://naic.org/state_web_map.htm.

6.   For non-United States (alien) insurers, the insurer should be licensed by a country outside of
     the United States and should be on the NAIC’s International Insurers Department (IID) listing of
     approved nonadmitted non-United States insurers. Ask your agent, broker, or “surplus line”
     broker to obtain more information about that insurer.

7.   California maintains a “List of Approved Surplus Line Insurers (LASLI).” Ask your agent or
     broker if the insurer is on that list, or view that list at the internet website of the California
     Department       of     Insurance:       www.insurance.ca.gov/01-consumers/120-company/07-
     lasli/lasli.cfm.

8.   If you, as the applicant, required that the insurance policy you have purchased be effective
     immediately, either because existing coverage was going to lapse within two business days or
     because you were required to have coverage within two business days, and you did not
     receive this disclosure form and a request for your signature until after coverage became
     effective, you have the right to cancel this policy within five days of receiving this disclosure. If
     you cancel coverage, the premium will be prorated and any broker’s fee charged for this
     insurance will be returned to you.

D-2 (Effective January 1, 2020)

LMA9098B
10 December 2019




                                                                                                   Page 1
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 11 of 54




                             CALIFORNIA SURPLUS LINES NOTICE

This insurance is issued pursuant to the California Insurance Code, Sections 1760 through 1780,
and is placed in an insurer or insurers not holding a Certificate of Authority from or regulated by the
California Insurance Commissioner.

LMA9030
01 September 2013




                                                                                                 Page 2
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 12 of 54




This contract is subject to US state surplus lines requirements. It is the responsibility of the surplus
lines broker to affix a surplus lines notice to the contract document before it is provided to the
insured. In the event that the surplus lines notice is not affixed to the contract document the insured
should contact the surplus lines broker.




                                                                                                  Page 3
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 13 of 54




DECLARATIONS


ARMOUR BOARDROOM PROTECTION



THIS IS A CLAIMS MADE AND REPORTED POLICY. SUBJECT TO ITS TERMS, THIS POLICY
APPLIES ONLY TO ANY CLAIM FIRST MADE, ANY INVESTIGATION FIRST COMMENCED AND
ANY INQUIRY FIRST REPORTED DURING THE POLICY PERIOD PROVIDED SUCH CLAIM OR
INVESTIGATION IS REPORTED TO UNDERWRITERS IN ACCORDANCE WITH THE TERMS OF
CLAUSE VI.

AMOUNTS INCURRED AS POLICY COSTS SHALL REDUCE AND MAY EXHAUST THE LIMIT
OF LIABILITY. THIS POLICY DOES NOT PROVIDE FOR ANY DUTY BY UNDERWRITERS TO
DEFEND ANY OF THE INSURED PERSONS. PLEASE READ THIS POLICY CAREFULLY.

These Declarations along with the Application and the Policy with endorsements shall constitute
the contract between the Insured Persons and Underwriters.


Policy No:      B0146ERINT2200905



Item A.      Parent Company:

                Paper Bird Inc.


             Principal Address:

                101 Second Street, Ste 200
                San Francisco
                California 94105
                United States of America



Item B.      Policy Period:

             From:   4 August 2022

               To:   4 August 2023

                     Both days 12.01 a.m. Local Time at the Principal Address stated in Item A.




                                                                                             Page 4
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 14 of 54




Item C.   Limit of Liability:

          USD5,000,000      in the aggregate for the Policy Period, but sub-limited to:

          USD250,000        in the aggregate for the Policy Period for all Mitigation Costs

                            such sub-limit shall be part of, and not in addition to, the aggregate
                            limit for the Policy Period shown above



Item D.   Premium:          USD500,000 (100%) for the Policy Period plus taxes as applicable


Item E.   1. Premium for Optional Extension Period:           150% of the total premium as
                                                              provided in Clause IX.A

          2. Length of Optional Extension Period:             12 months


Item F.   1. Premium for Predetermined Run-Off
             Period:                                          premium to be determined by
                                                              Underwriters at time of Corporate
                                                              Takeover for 36 months, or

                                                              premium to be determined by
                                                              Underwriters at time of Corporate
                                                              Takeover for 72 months

          2. Length of Predetermined Run-Off Period:          36 months, or

                                                              72 months

Item G.   Notification pursuant to Clause VI. shall be given to:

          Beazley Claims Services, 30 Batterson Park Road, Farmington, Connecticut 06032,
          United States of America

          or

          claims@beazley.com (with copy to claims@paragonbrokers.com )


Item H.   Inquiry Coverage Date:

          4 August 2021


Item I.   Service of process in any suit shall be made upon:

          Lloyd’s America, Inc., Attention: Legal Department, 280 Park Avenue, East
          Tower, 25th Floor, New York, New York 10017, United States of America




                                                                                              Page 5
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 15 of 54




Item J.    Choice of Law:

           State of California, United States of America


Item K.    Prior and Pending Litigation Date:

           4 August 2021


Dated in
London:    3rd August 2022




                                                                   Page 6
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 16 of 54




ARMOUR BOARDROOM PROTECTION - 2018


In consideration of the payment of the premium and subject to all of the provisions of this Policy,
Underwriters and the Insured Persons agree as follows:

I.      INSURING CLAUSE

        Underwriters shall pay on behalf of the Insured Persons:

        A.   Loss resulting from any Claim or Investigation;

        B.   Inquiry Costs resulting from any Inquiry; or

        C.   Mitigation Costs,

        except to the extent that such Loss, including any Inquiry Costs, Mitigation Costs, is paid
        as indemnification by the Company or any Outside Entity, subject to Clause II.B.

        This Policy is intended to protect solely the Insured Persons. Under no circumstances
        shall this Policy provide coverage for any Company, Outside Entity or any other entity.

II.     FAILURE OR REFUSAL OF INDEMNIFICATION

        In the event that the Company or any Outside Entity is required or permitted to pay or
        advance Loss on behalf of the Insured Persons, whether such indemnity or advancement
        is pursuant to law, charter or other similar formative document, by-laws or written
        agreements of the Company or any Outside Entity, and where the Company or such
        Outside Entity:

             (a) refuses to pay or advance such Loss for any reason; or

             (b) fails to pay or advance such Loss for any reason within 45 days of a specific
                 request being made by or on behalf of the Insured Persons,

        then this Policy will pay or advance such Loss after Underwriters have received written and
        itemized documentation of such Loss by means of invoices or otherwise, subject to all of its
        provisions, including without limitation Clause X.

III.   EXCLUSIONS

       Underwriters shall not be liable to make any payment in connection with any Claim,
       Investigation or Inquiry:


        A. based upon, arising out of, or attributable to:

             1. any Wrongful Act or any fact, circumstance or situation which has been the
                subject of any notice given prior to the Policy Period and accepted under any
                other Directors and Officers Liability or Employment Practices Liability Policy of
                which this Policy is a renewal, replacement or which it succeeds in time,

             2. any other Wrongful Act whenever occurring, which, together with a Wrongful Act
                which has been the subject of such notice, would constitute Interrelated Wrongful
                Acts, or




                                                                                              Page 7
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 17 of 54




            3. any written demand, suit, investigation or other proceeding pending, or order,
               decree or judgment entered, against any Insured prior to the date set forth in Item
               K. of the Declarations, or any Wrongful Act, fact, circumstance or situation
               underlying or alleged therein;

       B. for:

            1.   any deliberately fraudulent or deliberately criminal act or omission by the Insured
                 Person;

            2.   any personal profit or financial advantage gained by the Insured Person to which
                 they were not legally entitled; or

            3.   the return by the Insured Person of any remuneration paid to them without the
                 previous approval of the appropriate governing body of the Company,

            as determined by a final non-appealable adjudication adverse to the relevant Insured
            Person in the underlying action.

            Notwithstanding the foregoing:

            1.   Exclusions B,1., 2. and 3. shall not apply to Costs, Charges and Expenses or
                 Independent Directors; and

            2.   Exclusions B.2. and B.3. shall not apply to:

                   (a)    that portion of any Claim alleging violations of Section 11, 12 or 15 of the
                          Securities Act of 1933 as amended; or

                   (b)    Facilitation Costs incurred in connection with that portion of any Claim
                          alleging violations of Section 304(a) of the Sarbanes-Oxley Act of 2002,
                          Section 954 of the Dodd-Frank Wall Street Reform and Consumer
                          Protection Act or any internal policy of the Company promulgated in
                          accordance therewith or the Food, Drug, and Cosmetic Act, 21 U.S.C.
                          Section 301, et seq. or any internal policy of the Company promulgated in
                          accordance therewith.

            With respect to Exclusion B.1. for acts or omissions which are treated as a criminal
            violation in a jurisdiction outside the United States of America that are not treated as a
            criminal violation in the United States of America, the imposition of a criminal fine or
            other criminal sanction in such jurisdiction will not, by itself, be conclusive proof that a
            deliberately fraudulent or deliberately criminal act or omission occurred.

      For the purpose of determining the applicability of any of the Exclusions, no facts pertaining
      to, no knowledge possessed by, and no Wrongful Act of any of the Insured Persons or the
      Company shall be imputed to any other Insured Person.

IV.   LIMIT OF LIABILITY AND ORDER OF PAYMENTS

       A.   Limit of Liability

            1. The amount shown in Item C. of the Declarations shall be the maximum aggregate
               Limit of Liability of Underwriters under the Policy.




                                                                                                 Page 8
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 18 of 54




          2. Payments of Loss by Underwriters shall reduce the Limit of Liability and any
             applicable Sublimit of Liability.

     B.   Multiple Claims, Investigations and Inquiries

          1.   More than one Claim involving the same Wrongful Act or Interrelated Wrongful
               Acts shall be deemed to constitute a single Claim and shall be deemed to have
               been made at the earliest of the following dates:

               (a) the date on which the earliest Claim involving the same Wrongful Act or
                   Interrelated Wrongful Acts is first made; or

               (b) the date on which the Claim involving the same Wrongful Act or
                   Interrelated Wrongful Acts shall be deemed to have been made pursuant to
                   Clause VI.D.

          2.   More than one Investigation having as a common nexus any fact, circumstance,
               situation, event, transaction or series of facts, circumstances, situations, events or
               transactions shall be deemed to constitute a single Investigation and shall be
               deemed to have been commenced at the earliest of the following dates:

               (a) the date on which the earliest Investigation is first commenced; or

               (b) the date on which the Investigation shall be deemed to have been
                   commenced pursuant to Clause VI.D.

          3.   If an Inquiry is first reported to Underwriters during the Policy Period in
               accordance with Clause VI.B. then such Inquiry and any subsequent Inquiry
               having as a common nexus any fact, circumstance, situation, event, transaction or
               series of facts, circumstances, situations, events or transactions shall be deemed
               a single Inquiry first reported on the date the earliest Inquiry is first reported.

          4.   Any Claim, Investigation or Inquiry having as a common nexus any fact,
               circumstance, situation, event, transaction or series of facts, circumstances,
               situations, events or transactions shall be deemed a single Claim and shall be
               deemed to have been made at the earliest of the following dates:

               (a) the date on which the Inquiry is first reported;

               (b) the date on which the Investigation is first commenced; or

               (c) the date on which the Claim is first made.

     C.   Order of Payments

          Payments of Loss by Underwriters shall reduce the Limit of Liability. Underwriters shall
          pay Loss in the following order:

          1. first, Loss that is allocable to any Wrongful Act committed or any conduct
             undertaken prior to the Company becoming a debtor in possession under the
             United States bankruptcy law or similar legal status under foreign law; and

          2. second, Loss that is allocable to any Wrongful Act committed or any conduct
             undertaken on or after the Company became a debtor in possession under the
             United States bankruptcy law or similar legal status under foreign law.



                                                                                              Page 9
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 19 of 54




          Underwriters shall have no obligation to pay Loss after exhaustion of the Limit of
          Liability.

     D.   Advancement of Policy Costs

          Underwriters shall advance or pay Policy Costs on a current basis but no less than
          once every sixty (60) days.

V.   SETTLEMENTS AND DEFENSE

     A. Appointment of Defense Counsel and incurring of Policy Costs (other than Mitigation
        Costs)

          The Insured Persons may not appoint defense counsel to handle any Claim,
          Investigation or Inquiry without Underwriters' consent, such consent not to be
          unreasonably withheld, conditioned or delayed. No Costs, Charges and Expenses,
          Facilitation Costs, Personal Asset Costs, Personal Reputation Costs, Foreign
          Accommodation Costs or Inquiry Costs shall be incurred without Underwriters'
          consent, such consent not to be unreasonably withheld, conditioned or delayed.

          Underwriters’ consent will not be required in connection with incurring any Costs,
          Charges and Expenses, Facilitation Costs, Personal Asset Costs, Personal
          Reputation Costs, Foreign Accommodation Costs or Inquiry Costs to the extent
          the Claim, Investigation or Inquiry is covered or consent is given under any other
          insurance or where indemnification is provided by the Company or any Outside Entity.

     B.   Incurring of Mitigation Costs

          No Mitigation Costs shall be incurred without Underwriters' prior written consent, such
          consent not to be unreasonably withheld, conditioned or delayed.

          As a condition precedent to the Insured Persons right to payment of Mitigation
          Costs:

          1. the Insured Persons shall demonstrate, to the reasonable satisfaction of
             Underwriters, that the incurring of such Mitigation Costs is reasonably likely to
             prevent such fact, circumstance or situation from resulting in a Claim,
             Investigation or Inquiry;

          2. any action taken by the Insured Persons shall only be taken with the prior written
             consent of Underwriters, such consent not to be unreasonably withheld,
             conditioned or delayed.

          3. the liability of Underwriters for Mitigation Costs shall in no event exceed the
             amount of Loss they would have paid if a Claim, Investigation or Inquiry were to
             be pursued against the Insured Persons; and

          4. the Insured Persons shall establish that such Claim, Investigation or Inquiry
             would be covered under this Policy.

     C. Settlements

          No settlement shall be made without Underwriters' consent, such consent not to be
          unreasonably withheld, conditioned or delayed.

     D. Duty of the Insured Persons


                                                                                          Page 10
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 20 of 54




           It shall be the duty of the Insured Persons and not the duty of Underwriters to defend
           Claims, Investigations or Inquiries. Underwriters shall have the right and shall be
           given the opportunity to effectively associate with the Insured Persons in the
           investigation, defense and settlement of any Claim, Investigation or Inquiry that
           appears reasonably likely to be covered in whole or in part hereunder.

VI.    NOTIFICATION

       A. Notification of Claim and Investigation

           The Insured Persons or the Company shall, as a condition precedent to the Insured
           Persons’ rights to payment under this Policy, give to Underwriters notice in writing of
           any Claim or Investigation as soon as practicable after the risk manager or general
           counsel of the Parent Company first becomes aware of such Claim or Investigation,
           but in no event later than:

           1. sixty (60) days after the end of the Policy Period, or

           2. in the event this Policy is renewed with Underwriters, one hundred and eighty (180)
              days after the end of the Policy Period.

           In the event that the Insured Persons or the Company:

           (a) fail to provide notice of a Claim or Investigation in accordance with the above,
               Underwriters shall not be entitled to deny coverage for the Claim or Investigation
               based upon late notice, unless Underwriters can establish that their interests were
               materially prejudiced by reason of such late notice; or

           (b) should have notified Underwriters regarding a Claim or Investigation but were
               unable to do so due to being prohibited from disclosing information by a
               Regulatory Authority or pursuant to the terms of a confidentiality agreement,
               then 'as soon as practicable' shall mean as soon as the Insured Persons or the
               Company are permitted to disclose the information by the Regulatory Authority
               or pursuant to the terms of the confidentiality agreement.

       B. Notification of Inquiry

           If the Insured Persons elect to seek coverage for Inquiry Costs in connection with an
           Inquiry, the Insured Persons or the Company shall give to Underwriters notice in
           writing of such Inquiry, but in no event later than:

           1. the end of the Policy Period; or

           2. in the event this Policy is non-renewed with Underwriters, sixty (60) days after the
              end of the Policy Period.

      C.   Notification for Mitigation Costs

           The Insured Persons or the Company shall, as a condition precedent to the Insured
           Persons’ rights to payment of Mitigation Costs under this Policy, provide
           Underwriters with the information required in Clause VI.D.(a) through VI.D.(c) as soon
           as practicable after the risk manager or general counsel of the Parent Company first
           becomes aware of a specific fact, circumstance or situation which could reasonably
           give rise to a Claim, Investigation or Inquiry.




                                                                                           Page 11
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 21 of 54




        D.    Notification of Fact, Circumstance or Situation

              If the Insured Persons or the Company:

              1. is aware of a specific fact, circumstance or situation which could reasonably give
                 rise to a Claim, Investigation or Inquiry; or

              2. receives any request to toll, extend or waive a period or statute of limitation or a
                 contractual timebar which may be applicable to any Claim, Investigation or
                 Inquiry,

              and if the Insured Persons or the Company during the Policy Period gives written
              notice to Underwriters of:

              (a) the specific fact, circumstance, situation or the request to toll, extend or waive a
                  period or statute of limitation or a contractual timebar;

              (b) the consequences which have resulted or may result therefrom; and

              (c) the manner by which the Insured Persons or the Company first became aware
                  thereof,

              then any Claim made, Investigation commenced or Inquiry reported subsequently
              arising out of such fact, circumstance, situation or the request to toll, extend or waive a
              period or statute of limitation or a contractual timebar shall be deemed for the purposes
              of this Policy to have been made, commenced or reported at the time such notice was
              first given.

         E. Notice to Underwriters

              Notice to Underwriters provided for in Clause VI. shall only be deemed effective if given
              to the firm shown under Item G. of the Declarations.

VII.     OTHER INSURANCE AND INDEMNIFICATION

         The Insured Persons and Underwriters agree that all coverage under this Policy is excess
         over and will not contribute with:

         A.      all other valid and collectible insurance, whenever purchased, whether such other
                 insurance is stated to be primary, contributing, excess, contingent or otherwise,
                 unless such other insurance is written as specific excess insurance over the Limit of
                 Liability provided by this Policy; and

         B.      all indemnification to which the Insured Persons may be entitled from the
                 Company or any Outside Entity.

         However, the coverage under this Policy shall apply as primary to any personal directorship
         or umbrella liability insurance of any of the Insured Persons or any Directors and Officers
         Liability insurance issued to any equity holder of the Company.

VIII.    GENERAL CONDITIONS

         A.   Severability




                                                                                                 Page 12
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 22 of 54




          The Application shall be construed as a separate Application for coverage by each
          of the Insured Persons and no knowledge possessed by any Insured Person or the
          Company shall be imputed to any other Insured Person.

          Underwriters shall not be entitled to void this Policy, in whole or in part, or to rescind
          this Policy at any time.

     B.   Adjustment Clause

          1. Mergers and Acquisitions by the Company

             In the event the Company:

             (a) acquires any other entity or acquires substantially all of the assets of another
                 entity where such assets acquired exceed twenty-five percent (25%) of the
                 consolidated assets of the Company as set forth in the Company's most
                 recent audited financial statement;

             (b) merges with another entity such that the Company is the surviving entity
                 where such assets of the merged entity exceed twenty-five percent (25%) of
                 the consolidated assets of the Company as set forth in the Company's most
                 recent audited financial statement; or

             (c) acquires a Subsidiary where such assets acquired exceed twenty-five percent
                 (25%) of the consolidated assets of the Company as set forth in the
                 Company's most recent audited financial statement,

             after the inception of this Policy, coverage shall be afforded for a period of ninety
             (90) days for any Loss in any way involving the assets acquired or the assets,
             liabilities, directors, officers or employees of the entity acquired or merged with, but
             only with respect to any Wrongful Act committed or any conduct undertaken on or
             after the date such entity is acquired, merged with or became a Subsidiary.
             Coverage beyond such ninety (90) day period shall only be available if:

             i)    written notice of such transaction or event is given to Underwriters by the
                   Parent Company;

             ii)   the Parent Company provides Underwriters with such information in
                   connection therewith as Underwriters may deem necessary;

             iii) the Insured Persons accept any special terms, conditions, exclusions or
                  additional premium charge as may be required by Underwriters; and

             iv) Underwriters, at their sole discretion, agree to provide such coverage.

          2. Cessation of Subsidiaries

             In the event any entity ceased to be a Subsidiary as defined herein after the
             inception date of this Policy, or of any policy of which this Policy is a renewal or
             replacement, this Policy, subject to its terms, shall continue to apply to any of the
             Insured Persons who were covered under this Policy because of their service with
             such entity but only with respect to any Wrongful Act committed or allegedly
             committed or any conduct undertaken or allegedly undertaken prior to the time
             such entity ceased to be a Subsidiary.

          3. Corporate Takeover



                                                                                             Page 13
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 23 of 54




                Except if an Predetermined Run-Off Period is purchased in accordance with
                Clause IX.B., in the event of a Corporate Takeover after the inception date of this
                Policy or of any policy issued by Underwriters of which this Policy is a renewal or
                replacement, this Policy, subject to its terms, shall continue to apply to the Insured
                Persons but only with respect to any Wrongful Act committed or allegedly
                committed or any conduct undertaken or allegedly undertaken prior to the
                Corporate Takeover.

     C. Cancellation Clause

          1. By acceptance of this Policy, the Insured Persons hereby confer the exclusive
             power and authority to cancel this Policy on their behalf to the Parent Company.
             Such entity may cancel this Policy by surrender thereof to Underwriters, or by
             mailing to Underwriters written notice stating when thereafter such cancellation
             shall be effective. The mailing of such notice shall be sufficient notice and the
             effective date of cancellation stated in the notice shall become the end of the
             Policy Period. Delivery of such written notice shall be equivalent to mailing.

          2. Underwriters may cancel this Policy only for nonpayment of premium by mailing to
             the Parent Company written notice stating when, not less than thirty (30) days
             thereafter, such cancellation shall be effective. The mailing of such notice shall be
             sufficient notice and the effective date of cancellation stated in the notice shall
             become the end of the Policy Period. Delivery of such written notice by
             Underwriters shall be equivalent to mailing. If the foregoing notice period is in
             conflict with any governing law or regulation, then such period shall be amended to
             afford the minimum notice period permitted thereunder.

          3. If this Policy is cancelled pursuant to 1. hereinabove, Underwriters shall retain the
             customary short rate proportion of the premium hereon. If this Policy is cancelled
             pursuant to 2. hereinabove, Underwriters shall retain the pro rata proportion of the
             premium hereon. Payment or tender of any unearned premium by Underwriters
             shall not be a condition to the effectiveness of cancellation.


     D.   Company Authorization Clause

          By acceptance of this Policy the Insured Persons agree that the Parent Company
          will act on their behalf with respect to the giving of all notices to Underwriters, the
          receiving of notices from Underwriters, the payment of the premium and the receipt of
          any return premium, except where provided under Clause IX.

          However, any Insured Person may, upon notice to Underwriters, designate an agent
          to replace the Parent Company to represent him or her with respect to all or any of the
          matters listed above.

     E.   Valuation and Currency Clause

          All premiums, limits and Loss under this Policy are expressed in the currency of the
          United States. If judgment is rendered, settlement is denominated or another element
          of Loss under this Policy is stated in a currency other than United States dollars or
          Policy Costs are paid in a currency other than United States dollars, payment under
          this Policy shall be made, at the Insured Persons election, either:

          (a)      in United States dollars; or




                                                                                               Page 14
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 24 of 54




           (b)   in the foreign jurisdiction at issue and in the foreign currency at issue, to the
                 extent legally permissible.

           The rate of exchange published in the Wall Street Journal on the date the judgment
           becomes final or payment of the settlement or other element of Loss is due or the date
           Policy Costs are paid shall be used to calculate erosion of the limits of liability of this
           Policy.

      E.   Bankruptcy Clause

           Bankruptcy or insolvency of the Company or any of the Insured Persons shall not
           relieve Underwriters of any of their obligations under this Policy.

           If a liquidation or reorganization proceeding is commenced by the Company (whether
           voluntarily or involuntarily) under Title 11 of the United States Code (as amended), or
           any similar state, local or foreign law, then, in regard to a covered Claim,
           Investigation or Inquiry under this Policy, Underwriters and the Insured Persons
           hereby agree not to oppose or object to any efforts by Underwriters or any of the
           Insured Persons to obtain relief from any stay or injunction applicable to the proceeds
           of this Policy as a result of the commencement of such liquidation or reorganization
           proceeding.

      F.   Recovery Clause

           In the event Underwriters recover amounts they have paid under this Policy,
           Underwriters will reinstate the Limit of Liability of this Policy to the extent of such
           recovery, less its costs incurred in administering and obtaining such recovery.
           Underwriters assume no duty to seek a recovery of any amounts paid under this
           Policy.

IX.   EXTENSIONS TO THE POLICY PERIOD

      A.   Optional Extension Period


           If this Policy is not renewed by the Parent Company or by Underwriters, then the
           Parent Company or any of the Insured Persons shall have the right, upon payment
           of an additional premium calculated at that percentage shown in Item E.1. of the
           Declarations of the total premium for this Policy, to an extension of the coverage
           granted by this Policy with respect to:

           1. any Claim first made or Investigation first commenced during the period of time
              set forth in Item E.2. of the Declarations after the Policy expiration date, but only
              with respect to any Wrongful Act committed or any conduct undertaken before the
              Policy expiration date; or

           2. any Inquiry first reported to Underwriters during the period of time set forth in Item
              E.2. of the Declarations after the Policy expiration date, but only with respect to any
              Inquiry first received on or after the date set forth in Item H. of the Declarations for
              any conduct undertaken before the Policy expiration date.


      B.   Predetermined Run-Off Period

           In the event of a Corporate Takeover, the Parent Company or any of the Insured
           Persons shall have the right, upon payment of an additional premium calculated at
           that applicable percentage shown in Item F.1. of the Declarations of the total premium


                                                                                               Page 15
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 25 of 54




          for this Policy (less any unearned premium calculated at pro rata for the period from
          the date of such Corporate Takeover), to an extension of the coverage granted by this
          Policy with respect to:

          1. any Claim first made or Investigation first commenced during the applicable
             period of time set forth in Item F.2. of the Declarations after the date of such
             Corporate Takeover, but only with respect to any Wrongful Act committed or any
             conduct undertaken before the date of such Corporate Takeover; or

          2. any Inquiry first reported to Underwriters during the applicable period of time set
             forth in Item F.2. of the Declarations after the date of such Corporate Takeover,
             but only with respect to any Inquiry first received on or after the date set forth in
             Item H. of the Declarations for any conduct undertaken before the date of such
             Corporate Takeover.


     C.   Retired and Resigned Insured Person Extension Period

          If this Policy is not renewed by the Parent Company or by Underwriters, then any of
          the Insured Persons who have retired or resigned prior to or during the Policy Period
          shall have an automatic extension of the coverage granted by this Policy with respect
          to:

          1.   any Claim first made or Investigation first commenced during the seventy-two
               month period following the end of the Policy Period, but only with respect to any
               Wrongful Act committed or any conduct undertaken before the Policy expiration
               date; or

          2.   any Inquiry first reported to Underwriters during the seventy-two month period
               following the end of the Policy Period, but only with respect to any Inquiry first
               received on or after the date set forth in Item H. of the Declarations for any
               conduct undertaken before the Policy expiration date.

     D.   Extension Conditions

          1.   As a condition to the right to the coverage afforded under the Optional Extension
               Period, the Predetermined Run-Off Period or the Retired and Resigned
               Insured Person Extension Period the total premium for this Policy must have
               been paid.

          2.   The Retired and Resigned Insured Person Extension Period shall not apply in
               the event the Company or such Insured Person has purchased other insurance,
               including any optional extension period or equivalent, to replace, in whole or in
               part, the insurance provided under this Policy.

          3.   The exercise of the Optional Extension Period, the Predetermined Run-Off
               Period or the Retired and Resigned Insured Person Extension Period shall
               not in any way increase the Limit of Liability of Underwriters.

          4.   In the event the Optional Extension Period or the Predetermined Run-Off
               Period is purchased under this Policy or the Retired and Resigned Insured
               Person Extension is exercised and the law in any foreign country imposes a
               requirement for a minimum extension period, then the applicable period of time
               under this Policy shall be extended in order to comply with any such minimum
               extension period but solely with respect to any Claim, Investigation or Inquiry
               first brought and maintained in such country.



                                                                                           Page 16
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 26 of 54




X.     ASSISTANCE, COOPERATION AND SUBROGATION

       The Insured Persons agree to provide Underwriters with such information, assistance and
       cooperation as Underwriters or their counsel may reasonably request, and they further
       agree that, after a Claim has been made against them, an Investigation has been
       commenced against them or an Inquiry has been received by them, they shall not take any
       action which in any way increases Underwriters' exposure under this Policy. The failure of
       any of the Insured Persons or the Company to give Underwriters or their counsel the
       information, assistance and cooperation that they may reasonably request shall not impair
       the rights of any other Insured Person under this Policy.

       The reporting of matters to, and subsequent communication with a Regulatory Authority
       by the Company or any of the Insured Persons, whether pursuant to law, regulation,
       negotiation under a deferred prosecution agreement or otherwise will not constitute a
       contravention of this provision by the Company or such Insured Persons.

       In the event of any payment under this Policy, Underwriters shall be subrogated to the
       Insured Persons' rights of recovery therefor against any person or entity, including without
       limitation for indemnification by the Company or any Outside Entity, to the extent of such
       payment. The Insured Persons shall execute all papers required and shall do everything
       that may be reasonably necessary to secure and preserve such rights including the
       execution of such documents as are necessary to enable Underwriters effectively to bring
       suit in their name, and shall provide all other assistance and cooperation which
       Underwriters may reasonably require.

       Notwithstanding the foregoing, Underwriters agree to waive their rights of subrogation
       against any of the Insured Persons.

XI.    WORLDWIDE

       This Policy applies only to Claims first made, Investigations first commenced and
       Inquiries first reported during the Policy Period anywhere in the world as permitted by law.

       However, in the event that Underwriters are unable to pay Loss in any country outside of
       the United States due to Underwriters not holding a valid local license in such country, the
       Insured Persons may, where permitted by law, elect to have Loss paid in a country where
       Underwriters do hold a valid local license. The Insured Persons agree that such payments
       of Loss by Underwriters shall satisfy Underwriters’ obligations under this Policy in respect
       of Loss which is due to be paid in such country in which Underwriters do not hold a valid
       local license.

XII.   SERVICE OF SUIT

       It is agreed that in the event of the failure of Underwriters to pay any amount claimed to be
       due hereunder, Underwriters at the request of any of the Insured Persons will submit to
       the jurisdiction of any court of competent jurisdiction within the United States and will
       comply with all requirements necessary to give such court jurisdiction. Nothing in this
       Clause constitutes or should be understood to constitute a waiver of Underwriters' rights to
       commence an action in any court of competent jurisdiction in the United States, to remove
       an action to United States District Court, or to seek a transfer of a case to another court as
       permitted by the laws of the United States or of any state in the United States. It is further
       agreed that service of process in such suit may be made upon the firm shown under Item I.
       of the Declarations, and that in such suit instituted against any one of Underwriters upon
       this Policy, Underwriters will abide by the final decision of such court or of any appellate
       court in the event of an appeal.




                                                                                              Page 17
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 27 of 54




        The firm shown under Item I. of the Declarations is authorized and directed to accept
        service of process on behalf of Underwriters in any such suit and/or upon the request of any
        of the Insured Persons to give a written undertaking to such Insured Person that it will
        enter a general appearance upon Underwriters' behalf in the event such a suit shall be
        instituted.

        Further, pursuant to the statute of any state, territory or district of the United States which
        makes provision therefor, Underwriters hereon hereby designate the Superintendent,
        Commissioner or Director of Insurance or other officers specified for that purpose in the
        statute, or any of their successors in office, as their true and lawful attorney, upon whom
        may be served any lawful process in any action, suit or proceeding instituted by or on
        behalf of any of the Insured Persons or any beneficiary hereunder arising out of this
        Policy, and hereby designate the firm shown in Item I. of the Declarations as the firm to
        whom the said officer is authorized to mail such process or a true copy thereof.

XIII.   CHOICE OF LAW

        Except with respect to the insurability of damages under the definition of Loss, any dispute
        involving this Policy shall be resolved by applying the law of the state designated in Item J.
        of the Declarations.

XIV.    DEFINITIONS

        The following terms whenever used in this Policy in boldface type shall have the meanings
        indicated.

        "Application" means:

        1.   the completed and signed application for this Policy (if any) including any written
             materials submitted therewith, and

        2.   any public documents filed by the Company with the Securities and Exchange
             Commission during the twelve (12) month period prior to the inception date of this
             Policy,

        all of which shall be deemed part of this Policy, as if physically attached.

        "Claim" means:

        1.   (a)     any written demand for monetary damages, non monetary relief, injunctive relief
                     or other relief first made against any of the Insured Persons, or

             (b)     any civil, criminal, administrative, regulatory, arbitration or mediation proceeding
                     or other alternative dispute resolution process first made against any of the
                     Insured Persons,

             during the Policy Period for a Wrongful Act, including but not limited to:

             (i)     any appeal from any such proceeding;

             (ii)    any proceeding before the Equal Employment Opportunity Commission or any
                     similar federal, state, local or foreign governmental body;

             (iii)   any Manslaughter Claim;




                                                                                                 Page 18
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 28 of 54




          (ii)   any formal demand or proceeding arising out of any statutory liability of the
                 Insured Persons due to the failure of the Company to deduct, withhold or remit
                 taxes (including non-resident withholding taxes, goods and services taxes,
                 salary or withholding taxes and employee source deductions), unemployment
                 insurance contributions, or pension plan contributions; or

          (v)    any formal demand or proceeding arising out of any statutory liability of the
                 Insured Persons due to the failure of the Company to pay debts for services
                 performed by an employee of the Company for salary, wages or related
                 amounts such as vacation pay or holiday pay; or

     2.   (a)    any extradition proceeding first initiated against any of the Insured Persons, or

          (b)    the arrest and detainment or incarceration of any of the Insured Persons,

          during the Policy Period with respect to their status as Insured Persons of the
          Company, by any law enforcement authority,

     but shall not include any Investigation or Inquiry.

     "Company" means:

     1.   the Parent Company;

     2.   any Subsidiary;

     3.   the Parent Company or any Subsidiary as a debtor in possession under the United
          States bankruptcy law or similar legal status under foreign law; and

     4.   any foundation, charitable trust or political action committee totally funded or controlled
          by the Parent Company or any Subsidiary.

     "Corporate Takeover" means:

     1.   the acquisition by any person or entity of more than fifty percent (50%) of the
          outstanding securities of the Parent Company representing the present right to vote
          for the election of directors; or

     2.   the merger of the Parent Company into another entity such that the Parent Company
          is not the surviving entity.

     Corporate Takeover shall not be considered to have occurred in the event of appointment
     of a receiver, liquidator, conservator, trustee or similar official.

     "Costs, Charges and Expenses" means:

     1.   reasonable fees, costs, charges and expenses incurred by the Insured Persons in
          defense, settlement, investigation and appeal of any Claim or in responding to any
          Investigation and cost of attachment or similar bonds, including:




                                                                                              Page 19
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 29 of 54




          (a)   reasonable attorneys and expert fees incurred by the Insured Persons in
                defense, settlement, investigation and appeal of any Claim or in responding to
                any Investigation, and

          (b)   reasonable legal fees and expenses incurred by the Insured Persons in
                defense, settlement, investigation and appeal of:

                (i)    any Claim made against the chief executive officer or chief financial officer
                       of the Parent Company seeking repayment of compensation as a result of
                       a financial restatement of the Company pursuant to Section 304(a) of the
                       Sarbanes-Oxley Act of 2002, or

                (ii)   any Claim seeking repayment of compensation as a result of a financial
                       restatement of the Company pursuant to Section 954 of the Dodd-Frank
                       Wall Street Reform and Consumer Protection Act or any internal policy of
                       the Company promulgated in accordance therewith, and

     2.   reasonable costs (other than collateral) for a bond or other financial instrument to
          guarantee the contingent obligation of the Insured Persons for bail or its equivalent
          required by a court in any foreign jurisdiction, and

     3.   Foreign Accommodation Costs where such Foreign Accommodation Costs are
          not paid by the Company, subject to a maximum sublimit of USD50,000 for each
          Insured Person and all of his or her Relatives and USD250,000 in the aggregate for
          all Insured Persons and all of his or her Relatives for the Policy Period, such
          sublimits shall be part of, and not in addition to, the Limit of Liability stated in Item C.1.
          of the Declarations, and

     4.   reasonable fees and expenses incurred by the Insured Persons at Underwriters’
          request to assist Underwriters in investigating the Claim or Investigation, and

     5.   reasonable legal fees and expenses incurred by any of the Insured Persons where
          deposed as a witness in connection with any Claim against or Investigation or
          Inquiry of any other Insured Person.

     "Facilitation Costs" means reasonable fees, costs and expenses (including the premium
     or origination fee for a loan or bond) incurred by:

     1.   the chief executive officer or chief financial officer of the Parent Company to facilitate
          the return of amounts required to be repaid pursuant to Section 304(a) of the
          Sarbanes-Oxley Act of 2002, or

     2.   the Insured Persons to facilitate the return of amounts required to be repaid pursuant
          to Section 954 of the Dodd-Frank Wall Street Reform and Consumer Protection Act or
          any internal policy of the Company promulgated in accordance therewith, or

     3.   the Insured Persons to facilitate the return of amounts required to be repaid pursuant
          to the Food, Drug, and Cosmetic Act, 21 U.S.C. Section 301, et seq. or any internal
          policy of the Company promulgated in accordance therewith,

     provided that such fees, costs or expenses do not include the payment, return,
     reimbursement, disgorgement or restitution of any amounts requested or required to be
     repaid pursuant to Section 304(a) of the Sarbanes-Oxley Act of 2002, Section 954 of the
     Dodd-Frank Wall Street Reform and Consumer Protection Act or the Food, Drug, and




                                                                                                Page 20
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 30 of 54




     Cosmetic Act, 21 U.S.C. Section 301, et seq. or any internal policy of the Company
     promulgated in accordance therewith.

     "Foreign Accommodation Costs" means, where legally permissible, the following
     expenses and fees incurred in connection with an extradition proceeding or arrest and
     detainment as described in part 2. of Claim:

     1.   reasonable travel expenses incurred by a Relative to travel to a foreign jurisdiction in
          which the Insured Person is not domiciled,

     2.   reasonable accommodation expenses incurred by any of the Insured Persons or any
          of his or her Relatives to temporarily reside in a foreign jurisdiction in which such
          Insured Person is not domiciled,

     3.   reasonable fees incurred by any of the Insured Persons or any of his or her Relatives
          to convert currency to the currency of a foreign jurisdiction in which such Insured
          Person is not domiciled, or

     4.   reasonable fees incurred by any of the Insured Persons or any of his or her Relatives
          to obtain the services of an interpreter or translator.

     “Independent Director” means any Insured Person who was, now is, or shall be a director
     of the Company or any person serving in a functionally equivalent role for the Parent
     Company or any Subsidiary operating or incorporated outside the United States, provided
     such Insured Person has not been an employee, officer or equivalent executive of the
     Company in the past three (3) years.

     "Inquiry" means:

          (a)   a request by a Regulatory Authority for any of the Insured Persons to appear
                for an interview or meeting or to provide sworn testimony or to produce
                documents,

          (b)   a request by or on behalf of the Company for any of the Insured Persons to
                appear for an interview or meeting or to provide sworn testimony or to produce
                documents in connection with:

                (i)    an inquiry or investigation of any of the Insured Persons or the Company
                       by a Regulatory Authority,

                (ii)   an investigation by the Company, or

                (iii) a security holder derivative demand or a derivative action lawsuit,

          (c)   a request by or on behalf of the Company or by a Regulatory Authority for any
                of the Insured Persons to appear as a witness in a trial or a court hearing of
                any criminal proceeding against the Company under the UK Corporate
                Manslaughter & Homicide Act 2007 or its equivalent in any jurisdiction,

          (d)   a request by any court-appointed trustee, examiner, receiver, liquidator,
                conservator, rehabilitator or similar official of the Company for any of the
                Insured Persons to appear for an interview or meeting or to provide sworn
                testimony or to produce documents in connection with any bankruptcy
                proceeding by or against the Company,




                                                                                            Page 21
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 31 of 54




          (e)   a raid on, or non-routine on-site visit to, the Company by any Regulatory
                Authority that involves the production, review, copying or confiscation of
                information, documents or materials in any form that are in the possession or
                control of any Insured Person, including devices, products, components,
                records, electronic information and files or interviews of such Insured Person,

          (f)   a request by or on behalf of a party to any litigation, arbitration or other type of
                proceeding against the Company for any of the Insured Persons to appear for
                an interview or meeting or to provide sworn testimony or to produce documents
                in connection with such litigation, arbitration or proceeding,

          (g)   a request by any other person or organization for any of the Insured Persons to
                appear for an interview or meeting or to provide sworn testimony or to produce
                documents, or

          (h)   any informal investigation of any of the Insured Persons by a Regulatory
                Authority after such Insured Person becomes aware that he or she is the
                subject of such investigation and, as a consequence of such investigation,
                retains legal counsel,

     regarding such Insured Person’s capacity as such or the business of the Company, where
     such request, raid, on-site visit or informal investigation is first reported to Underwriters in
     accordance with Clause VI.B., provided such request or informal investigation is first
     received by the Insured Persons, or such raid or on-site visit occurs, on or after the date
     set forth in Item H. of the Declarations.

     Inquiry shall not include any routine or regularly scheduled regulatory or internal
     supervision, inspection, compliance, review, examination, production or audit, including any
     request for mandatory information from a regulatory entity.

     "Inquiry Costs" means reasonable fees and expenses incurred by the Insured Persons in
     connection with such Insured Persons’ preparation for, attendance at and response to an
     Inquiry, including reasonable fees and expenses incurred by the Insured Persons to
     produce documents in his or her possession, to prepare for an interview or meeting, or to
     provide sworn testimony, but shall not include:

     1.   costs of complying with any discovery or other request seeking documents (including
          electronic information) for which the Company has the direct financial responsibility to
          produce; or

     2.   any amounts incurred prior to the time that the Inquiry is reported to Underwriters in
          accordance with Clause VI.B.


     "Insured Persons" means:

     1.   all persons who were, now are, or shall be directors, officers or trustees (other than
          bankruptcy trustees) of the Company and all persons serving in a functionally
          equivalent role for the Parent Company or any Subsidiary operating or incorporated
          outside the United States;

     2.   all persons who were, now are, or shall be employees of the Company, but only to the
          extent:




                                                                                             Page 22
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 32 of 54




           (a)   such employee is named as a co-defendant in any Claim or Investigation with
                 any of the persons set forth in this definition;

           (b)   such employee receives a request to respond to an Inquiry concurrently with
                 any of the persons set forth in this definition; and

     3.    the lawful spouse or domestic partner of any of the persons set forth in this definition,
           but only to the extent the spouse or domestic partner is a party to any Claim or
           Investigation solely because of his or her status as the spouse or domestic partner of
           any such persons and only for the purposes of any Claim or Investigation seeking
           damages recoverable from marital community property, property jointly held by any
           such person and the spouse or domestic partner, or property transferred from any such
           person to the spouse or domestic partner,

     including their estates, heirs, legal representatives, trusts, estate planning vehicles or
     assigns in the event of their death, incapacity or bankruptcy.

     "Insured Persons" shall include:

     (a) all persons who were, now are, or shall be the risk manager of the Company;

     (b) all persons who were, now are, or shall be managers or functionally equivalent roles of
         any limited liability company as defined in the definition of Subsidiary;

     (c) all persons who were, now are, or shall be members of the board of managers of the
         Company;

     (d) all natural persons who were, now are, or shall be shadow directors, as defined under
         Section 251 of the United Kingdom Companies Act 2006, of the Parent Company or
         any Subsidiary operating or incorporated in the United Kingdom or the Republic of
         Ireland;

     (e) any de facto or alleged de facto director of the Company;

     (f)   all persons who were, now are, or shall be serving as a representative of an entity that
           serves as a director of the Company; and

     (g) all persons who were, now are, or shall be a prospective director of the Company
         named in any registration statement, prospectus or similar offering document.

     "Interrelated Wrongful Acts" means Wrongful Acts which have as a common nexus any
     fact, circumstance, situation, event, transaction or series of facts, circumstances, situations,
     events or transactions.

     "Investigation" means any formal investigation of any of the Insured Persons first
     commenced during the Policy Period by a Regulatory Authority:

     1.    once any such Insured Persons are identified in writing by such Regulatory
           Authority as a person against whom a Claim may be brought, including without
           limitation receipt of a target letter, or

     2.    after the service of a subpoena or other similar written request compelling testimony or
           document production upon any such Insured Persons, or




                                                                                             Page 23
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 33 of 54




     3.    after any such Insured Persons have been identified in a Wells Notice, target letter or
           other written notice describing actual or alleged violations of securities laws or other
           laws by any such Insured Persons.

     "Loss" means:

     1.    any amounts which the Insured Persons become legally obligated to pay as a result
           of any Claim or Investigation, including damages, judgments (including pre and post-
           judgment interest), and settlements (including plaintiff attorney fees and expenses
           awarded or approved by the court in connection with a settlement of any Claim), and

     2.    Policy Costs.

     "Loss" shall include:

     (a)   punitive, exemplary or multiplied damages where any applicable law allows coverage
           for punitive, exemplary or multiplied damages incurred by any of the Insured
           Persons,

     (b)   that portion of any tax assessment imposed on any of the Insured Persons by a
           foreign jurisdiction based on Underwriters’ payment of such damages, judgments,
           settlements, Inquiry Costs or Costs, Charges and Expenses as a foreign or non-
           admitted carrier; or

     (c)   any statutory liability for any taxes owed by any of the Insured Persons as described
           in the definition of Claim;

     (d)   any other taxes owed by the Company for which any of the Insured Persons are held
           legally liable where any applicable law allows coverage for such taxes;

     (e)   any statutory liability for any wages, salary or benefits owed by any Insured Persons
           as described the definition of Claim;

     (f)   fines or civil penalties assessed against any of the Insured Persons pursuant to
           Section 78dd 2(g)(2)(B) or Section 78ff (c)2(B) of the Foreign Corrupt Practices Act, 15
           U.S.C. or Section 11(1)(a) of the United Kingdom Bribery Act of 2010, Chapter 23 or
           any statute or law similar to the foregoing in any jurisdiction,

     (g)   civil penalties assessed against any of the Insured Persons for the benefit of
           shareholders pursuant to Section 308 of the Sarbanes Oxley Act of 2002,

     (h)   civil fines and penalties, unpaid wages or other amounts for which any of the Insured
           Persons are held legally liable to pay pursuant to the Fair Labor Standards Act, the
           California Fair Pay Act, Section 630 of the New York Business Corporation Law, each
           as amended, or any similar federal, state, foreign or local law where any applicable
           law allows coverage for such fines, penalties, wages or amounts,

     (i)   any other fine or penalty imposed against any of the Insured Persons where any
           applicable law allows coverage for such fine or penalty,

     (j)   Personal Asset Costs, subject to a maximum sublimit of USD 500,000 in the
           aggregate for the Policy Period, such sublimit shall be part of, and not in addition to,
           the Limit of Liability stated in Item C.1. of the Declarations, and




                                                                                            Page 24
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 34 of 54




     (k)    Personal Reputation Costs, subject to a maximum sublimit of USD 500,000 in the
            aggregate for the Policy Period, such sublimit shall be part of, and not in addition to,
            the Limit of Liability stated in Item C.1. of the Declarations.

     Loss shall not include (other than Inquiry Costs and Costs, Charges and Expenses):

     (i)    any other taxes or the loss of tax benefits; or

     (ii)   matters deemed uninsurable under the law pursuant to which this Policy shall be
            construed.

     Notwithstanding the foregoing, Underwriters shall not assert that the portion of any
     judgment, settlement or Costs, Charges and Expenses incurred in connection with any
     Claim alleging violations of Section 11, 12 or 15 of the Securities Act of 1933 as amended,
     are uninsurable.

     With respect to coverage for any such Loss above, any applicable law most favourable to
     the insurability of Loss shall apply. If the Insured Persons demonstrate in good faith
     (including presenting a written legal opinion) that Loss is insurable under such law,
     Underwriters shall not challenge that interpretation of insurability. The cost of such legal
     opinion shall be borne by Underwriters. For purposes of this provision, “any applicable law”
     shall include but not be limited to the law: a) where the Claim seeking such damages was
     brought, b) where the Wrongful Acts giving rise to the Claim seeking such damages took
     place, c) where the Insured Persons have their principal place of business or reside, and
     d) where Underwriters are incorporated or have their principal place of business.

     "Management Control" means:

     1.     owning interest representing more than fifty percent (50%) of the voting, appointment
            or designation power for the selection of a majority of the board of directors of a
            corporation, the management committee members of a joint venture, the members of
            the management board of a limited liability corporation or with respect to entities
            operating or organized outside the United States, persons serving in a functionally
            equivalent role; or

     2.     having the right, pursuant to written contract or the bylaws, charter, operating
            agreement or similar documents of the Company to elect, appoint or designate a
            majority of the board of directors of a corporation, the management committee
            members of a joint venture, the management board of a limited liability corporation or
            with respect to entities operating or organized outside of the United States, persons
            serving in a functionally equivalent role.

     "Manslaughter Claim" means the prosecution of any of the Insured Persons for
     involuntary, constructive or gross negligence manslaughter before the Crown Prosecution
     Service, the Procurator Fiscal or any similar authority with jurisdiction over any corporate
     manslaughter violation.

     “Mitigation Costs” means reasonable fees, costs, charges and expenses incurred by any
     of the Insured Persons solely to mitigate a specific fact, circumstance or situation, that the
     risk manager, general counsel, chief executive officer or chief financial officer or equivalent
     of the Parent Company first become aware of and report to Underwriters during the Policy
     Period in accordance with Clause VII.D., which could reasonably give rise to a Claim,
     Investigation or Inquiry, but shall not include:




                                                                                             Page 25
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 35 of 54




     1.   any amounts incurred prior to the time that such specific fact, circumstance or situation
          is reported to Underwriters in accordance with Clause VI.D.;

     2.   any amounts incurred after the time a Claim is made against, an Investigation is
          commenced of, or an Inquiry is received by, any of the Insured Persons which arises
          out of such fact, circumstance or situation; or

     3.   costs of producing documents for which the Company has the direct financial
          responsibility to produce.

     "Optional Extension Period" means the period described in Clause IX.A.

     "Outside Entity" means:

     1. any not-for-profit organization, community chest, fund or foundation; and

     2. any other organization where the Insured Persons serve with such organization with
        the knowledge and consent, at the direction or request, or as part of their regularly
        assigned duties of the Company.

     For the purpose of paragraph 2. above, in the event of a disagreement between the
     Company and any of the Insured Persons as to whether such Insured Person was acting
     “with the knowledge and consent, at the direction or request, or as part of their regularly
     assigned duties of the Company”, it is agreed that Underwriters shall abide by the
     determination of the Company on this issue and such determination shall be made by the
     Company by written notice to Underwriters within 90 days after the Claim is first made or
     the Investigation is first commenced against such Insured Person. In the event no
     determination is made within such period, this paragraph shall operate as if the Company
     determined that such Insured Person was not acting with the knowledge and consent, at
     the direction or request, or as part of their regularly assigned duties of the Company.

     "Parent Company" means the entity named in Item A. of the Declarations.

     "Personal Asset Costs" means reasonable fees, costs, charges and expenses incurred
     by the Insured Persons in connection with any Claim or Investigation to oppose any
     efforts by any Regulatory Authority to seize, attach or otherwise enjoin the use of the
     personal assets or real property of such Insured Person or to obtain the discharge or
     revocation of a court order entered during the Policy Period in anyway impairing the use
     thereof.

     “Personal Reputation Costs” means reasonable fees, costs, charges and expenses
     charged by any public relations firm or crisis management firm incurred by the Insured
     Persons in connection with any Claim or Investigation to mitigate the adverse effects to
     such Insured Person’s reputation as a result of a negative public statement made about
     him or her by a Regulatory Authority.

     "Policy Costs" means Costs, Charges and Expenses, Inquiry Costs, Facilitation
     Costs, Personal Asset Costs, Personal Reputation Costs, or Mitigation Costs, but
     shall not include salaries, wages, overhead or benefit expenses associated with directors,
     officers or employees of the Company.

     "Policy Period" means the period from the effective date and hour of this Policy to the
     Policy expiration date and hour as set forth in Item B. of the Declarations, or its earlier



                                                                                            Page 26
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 36 of 54




     cancellation date and hour, if any, or the end of the Optional Extension Period or
     Predetermined Run-Off Period, if purchased, or the Retired and Resigned Insured
     Person Extension Period, if exercised.

     "Predetermined Run-Off Period" means the period described in Clause IX.B.

     "Regulatory Authority" means any federal, state, local or foreign law enforcement or
     governmental authority (including but not limited to the Department of Justice, the
     Securities and Exchange Commission and any attorney general) or the enforcement unit of
     any securities exchange or similar self-regulating body.

     "Relative" means a lawful spouse, domestic partner, child, stepchild, adopted child,
     adopted stepchild, lawful spouse of a married child, grandchild, sister, brother, parent,
     parent-in-law, stepparent, grandparent or grandparent-in-law of any of the Insured
     Persons, or of any resident or individual employed in the household of any of the Insured
     Persons.

     "Retired and Resigned Insured Person Extension Period" means the period described
     in Clause IX.C.

     "Subsidiary" means any entity, including but not limited to any limited liability company,
     over which the Parent Company directly or indirectly had or has Management Control,
     provided, that this Policy only provides coverage for any Wrongful Act committed or any
     conduct undertaken while the Parent Company had or has Management Control of such
     entity.

     "Wrongful Act" means any actual or alleged act, error, omission, misstatement, misleading
     statement, neglect or breach of duty:

     1.   by any of the Insured Persons, while acting in their capacity as such, or any matter
          claimed against any of the Insured Persons by reason of their serving, or having
          served, in such capacity;

     2.   by any of the Insured Persons, while acting in their capacity as, or any matter claimed
          against any of the Insured Persons by reason of their serving, or having served, as:

          (a)   a controlling person within the meaning of Section 15 of the Securities Act of
                1933, as amended or Section 20(a) of the Securities Exchange Act 1934, as
                amended;

          (b)   a director, officer, manager, trustee, governor or executive director or in a
                functionally equivalent position of any Outside Entity; or

          (c)   a fiduciary of any employee benefit plan sponsored by the Company.

     3.   by any of the Insured Persons, while acting in their capacity as a shareholder of the
          Company, but limited to the selling shareholder capacity.




                                                                                          Page 27
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 37 of 54




Attaching to and forming part of Policy No:     B0146ERINT2200905

Issued to:            Paper Bird Inc.

Endorsement No: 1

                          (RE) INSURERS LIABILITY SEVERAL NOT JOINT

The liability of a (re)insurer under this contract is several and not joint with other (re)insurers party to
this contract. A (re)insurer is liable only for the proportion of liability it has underwritten. A
(re)insurer is not jointly liable for the proportion of liability underwritten by any other (re)insurer. Nor
is a (re)insurer otherwise responsible for any liability of any other (re)insurer that may underwrite
this contract.

The proportion of liability under this contract underwritten by a (re)insurer (or, in the case of a
Lloyd’s syndicate, the total of the proportions underwritten by all the members of the syndicate
taken together) is shown next to its stamp. This is subject always to the provision concerning
“signing” below.

In the case of a Lloyd’s syndicate, each member of the syndicate (rather than the syndicate itself) is
a (re)insurer. Each member has underwritten a proportion of the total shown for the syndicate (that
total itself being the total of the proportions underwritten by all the members of the syndicate taken
together). The liability of each member of the syndicate is several and not joint with other members.
A member is liable only for that member’s proportion. A member is not jointly liable for any other
member’s proportion. Nor is any member otherwise responsible for any liability of any other
(re)insurer that may underwrite this contract. The business address of each member is Lloyd’s, One
Lime Street, London EC3M 7HA. The identity of each member of a Lloyd’s syndicate and their
respective proportion may be obtained by writing to Market Services, Lloyd’s, at the above address.

Proportion of liability

Unless there is “signing” (see below), the proportion of liability under this contract underwritten by
each (re)insurer (or, in the case of a Lloyd’s syndicate, the total of the proportions underwritten by
all the members of the syndicate taken together) is shown next to its stamp and is referred to as its
“written line”.

Where this contract permits, written lines, or certain written lines, may be adjusted (“signed”). In
that case a schedule is to be appended to this contract to show the definitive proportion of liability
under this contract underwritten by each (re)insurer (or, in the case of a Lloyd’s syndicate, the total
of the proportions underwritten by all the members of the syndicate taken together). A definitive
proportion (or, in the case of a Lloyd’s syndicate, the total of the proportions underwritten by all the
members of a Lloyd’s syndicate taken together) is referred to as a “signed line”. The signed lines
shown in the schedule will prevail over the written lines unless a proven error in calculation has
occurred.

Although reference is made at various points in this clause to “this contract” in the singular, where
the circumstances so require this should be read as a reference to contracts in the plural.

21/6/07
LMA3333




                                                                                                    Page 28
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 38 of 54




Attaching to and forming part of Policy No:                    B0146ERINT2200905

Issued to:              Paper Bird Inc.

Endorsement No: 2

                 NEW SHORT RATE CANCELLATION TABLE ENDORSEMENT

Except as stated in the Special Cancellation Clause and in consideration of the premium for which
this insurance is written it is agreed that in the event of cancellation thereof by the Parent
Company the earned premium shall be computed as follows:-

                                    SHORT RATE CANCELLATION TABLE

A.      For Insurances written for one year:-

         Days                                              Per cent.   Days                                             Per cent.
         Insurance in                                  of One year     Insurance in                                 of One year
         force                                             Premium     force                                            Premium
           1             ....................................5         154 - 156      ...................................53
           2             ....................................6         157 - 160      ...................................54
           3-4           ....................................7         161 - 164      ...................................55
           5-6           ....................................8         165 - 167      ...................................56
           7-8           ....................................9         168 - 171      ...................................57
           9 - 10        ..................................10          172 - 175      ...................................58
           11 - 12       ..................................11          176 - 178      ...................................59
           13 - 14       ..................................12          179 - 182      (6 months)...................60
           15 - 16       ..................................13          183 - 187      ...................................61
           17 - 18       ..................................14          188 - 191      ...................................62
           19 - 20       ..................................15          192 - 196      ...................................63
           21 - 22       ..................................16          197 - 200      ...................................64
           23 - 25       ..................................17          201 - 205      ...................................65
           26 - 29       ..................................18          206 - 209      ...................................66
           30 - 32       (1 month)...................19                210 - 214      (7 months)...................67
           33 - 36       ..................................20          215 - 218      ...................................68
           37 - 40       ..................................21          219 - 223      ...................................69
           41 - 43       ..................................22          224 - 228      ...................................70
           44 - 47       ..................................23          229 - 232      ...................................71
           48 - 51       ..................................24          233 - 237      ...................................72
           52 - 54       ..................................25          238 - 241      ...................................73
           55 - 58       ..................................26          242 - 246      (8 months)...................74
           59 - 62       (2 months)..................27                247 - 250      ...................................75
           63 - 65       ..................................28          251 - 255      ...................................76
           66 - 69       ..................................29          256 - 260      ...................................77
           70 - 73       ..................................30          261 - 264      ...................................78
           74 - 76       ..................................31          265 - 269      ...................................79
           77 - 80       ..................................32          270 - 273      (9 months)...................80
           81 - 83       ..................................33          274 - 278      ...................................81
           84 - 87       ..................................34          279 - 282      ...................................82
           88 - 91       (3 months)...................35               283 - 287      ...................................83
           92 - 94       ...................................36         288 - 291      ...................................84
           95 - 98       ...................................37         292 - 296      ...................................85
           99 - 102      ...................................38         297 - 301      ...................................86
         103 - 105       ...................................39         302 - 305      (10 months).................87
         106 - 109       ...................................40         306 - 310      ...................................88
         110 - 113       ...................................41         311 - 314      ...................................89
         114 - 116       ...................................42         315 - 319      ...................................90
         117 - 120       ...................................43         320 - 323      ...................................91
         121 - 124       (4 months)...................44               324 - 328      ...................................92
         125 - 127       ...................................45         329 - 332      ...................................93
         128 - 131       ...................................46         333 - 337      (11 months).................94
         132 - 135       ...................................47         338 - 342      ...................................95
         136 - 138       ...................................48         343 - 346      ...................................96
         139 - 142       ...................................49         347 - 351      ...................................97
         143 - 146       ...................................50         352 - 355      ...................................98
         147 - 149       ...................................51         356 - 360      ...................................99
         150 - 153       (5 months)...................52               361 - 365      (12 months)...............100




                                                                                                                                    Page 29
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 39 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.


        B.      For insurances written for more or less than one year:-

                1. If insurance has been in force for 12 months or less, apply the standard short
                   rate table for annual insurances to the full annual premium determined as for
                   an insurance written for a term of one year.

                2. If insurance has been in force for more than 12 months:

                    a. Determine full annual premium as for an insurance written for a term of one
                       year.

                    b. Deduct such premium from the full insurance premium, and on the
                       remainder calculate the pro rata earned premium on the basis of the ratio
                       of the length of time beyond one year the insurance has been in force to
                       the length of time beyond one year for which the insurance was originally
                       written.

                    c.   Add premium produced in accordance with items (a) and (b) to obtain
                         earned premium during full period insurance has been in force.

N.M.A. 45 (amended)




                                                                                           Page 30
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 40 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      3

                               SPECIAL CANCELLATION CLAUSE

In consideration of the premium charged for this Policy, it is hereby understood and agreed that
notwithstanding anything to the contrary in this Policy including any endorsement or amendatory
thereto, in the event:

1.      the Underwriter ceases all underwriting operations; or

2.      the Underwriter is the subject of an order or resolution for winding up or formally propose a
        scheme of arrangement, or is placed into rehabilitation or liquidation by any state
        department of insurance; or

3       the Underwriter has its authority or license to carry on insurance business withdrawn; or

4       Lloyd’s financial strength rating is issued below A- by A.M. Best Company or by Standard &
        Poor’s Rating Services,

the Parent Company may cancel this Policy by giving notice within thirty (30) days of such event
and the return premium shall be calculated on a pro rata basis to the time on the risk. Any return of
premium shall also be subject to a written full release of liability from the Insureds. In the event
there are any notified, reserved or paid Claims, Investigations, Inquiries, Losses or
circumstances, return premium shall be calculated on a short rate basis pursuant to the terms of the
Policy.

All other terms and conditions of this Policy remain unchanged.




                                                                                              Page 31
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 41 of 54




Attaching to and forming part of Policy No:    B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      4

                         SANCTION LIMITATION AND EXCLUSION CLAUSE

No Insurer shall be deemed to provide cover and no Insurer shall be liable to pay any Claim or
provide any benefit hereunder to the extent that the provision of such cover, payment of such Claim
or provision of such benefit would expose that Insurer to any sanction, prohibition or restriction under
United Nations resolutions or the trade or economic sanctions, law or regulations of the
European Union, United Kingdom or United States of America.

All other terms and conditions of this Policy remain unchanged




                                                                                                  Page 32
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 42 of 54




Attaching to and forming part of Policy No:     B0146ERINT2200905

Issued to:            Paper Bird Inc.

Endorsement No.       5

     FTX - OFFERING/LISTING OF SECURITIES EXCLUSION WITH ROADSHOW CARVEBACK

In consideration of the premium charged for this Policy, it is hereby understood and agreed that
Underwriters shall not be liable to make any payment in connection with:

1)     any Claim, Investigation or Inquiry based upon, arising out of, directly or indirectly resulting
       from or in consequence of, or in any way involving the registration and/or public sale or public
       listing of any equity securities issued by the Company, or

2)     any Claim, Investigation or Inquiry based upon, arising out of, directly or indirectly resulting
       from or in consequence of, or in any way involving the purchase by the Company of
       securities of any entity whose securities are traded on any public stock exchange which
       purchase, either directly or indirectly, results in the Company having the right to vote for the
       election of a majority of such entity’s directors, or

3)     any Claim, Investigation or Inquiry based upon, arising out of, directly or indirectly resulting
       from or in consequence of, or in any way involving any acquisition, merger or transaction with
       a Special Purpose Acquisition Company resulting in the securities of the Company becoming
       traded on any public stock exchange, or

4)     any Claim, Investigation or Inquiry which alleges violations of the Securities Act of 1933,
       the Securities and Exchange Act of 1934, or any rules or regulations promulgated
       thereunder; or

5)     any Claim, Investigation or Inquiry based upon, arising out of, directly or indirectly resulting
       from, or in consequence of or in any way involving any Coin Offering, including but not
       limited to:

       a)    any allegation that any whitepaper relating to the Coin Offering:

             (i)     contains an untrue or misleading statement of material fact, or

             (ii)    omits a material fact which should have been stated in the whitepaper or was
                     necessary to make the statements contained in the whitepaper not misleading,
                     or

       b)    the pre-sale of any virtual or digital tokens or coins attached to any Coin Offering; or

       c)    any allegation by a regulator or governmental agency such as the Securities Exchange
             Commission, the U.S. Department of Justice, or foreign equivalents that a Coin
             Offering:

             (i)     is an initial or secondary coin offering; or

             (ii)    involves the sale of securities; or

             (iii)   violates any federal, state, or foreign equivalent securities law, rule or regulation.

      For the purpose of this Endorsement, Coin Offering shall mean any offer of virtual or digital
      tokens or coins by the Company to the public in exchange for consideration.




                                                                                                    Page 33
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 43 of 54




Attaching to and forming part of Policy No:     B0146ERINT2200905

Issued to:             Paper Bird Inc.

Provided that:

1)      Exclusions 1) and 4) only shall not apply to any Claim, Investigation or Inquiry arising out
        of the sale or purchase of debt or equity securities in a transaction that is exempt from
        registration under the Securities Act of 1933; or

2)      Exclusions 1), 2), 3) and 4) shall not apply to any Claim, Investigation or Inquiry
        emanating out of:

        a)       the registration or filing with the Securities Exchange Commission by the Company
                 of an offering memorandum or registration statement under the Securities Act of
                 1933, whether on Form S-1 or otherwise, or

        b)       any activity required for, or in preparation for, the Company’s proposed registration
                 and/or public sale or public listing of any equity securities, including any “road show”,
                 or

        c)       the Company’s failure to conduct, or delay in conducting, the proposed registration
                 and/or public sale or public listing of any equity securities, or

        d)       any activity required for, or in preparation for, the Company’s proposed purchase of
                 securities of any entity whose securities are traded on any public stock exchange or
                 the Company’s proposed acquisition, merger or transaction with a Special Purpose
                 Acquisition Company,

        but only where such Claim is made, Investigation is commenced or Inquiry is reported
        prior to the effective date of such sale, listing, purchase, acquisition, merger or transaction.


All other terms and conditions of this Policy remain unchanged.




                                                                                                  Page 34
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 44 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      6

                         WEST REALM SHIRES SERVICES INC EXCLUSION

In consideration of the premium charged for this Policy, it is hereby understood and agreed that
Underwriters shall not be liable to make any payment in connection with:

1.    any Claim made against or brought by or on behalf of, or in the name or right of or at the
      direction of West Realm Shires Services Inc.; or

2.    any Claim, Investigation or Inquiry based upon, arising out of, directly or indirectly resulting
      from or in consequence of, or in any way involving any Wrongful Act committed or alleged to
      have been committed or any conduct undertaken or alleged to have been undertaken by or
      on behalf of West Realm Shires Services Inc.

All other terms and conditions of this Policy remain unchanged.




                                                                                               Page 35
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 45 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      7

                                PREMIUM PAYMENT WARRANTY

IT IS HEREBY WARRANTED that all premium due to Underwriters under this policy is paid within
45 days from inception.

Non-receipt by Underwriters of such premium, by midnight (local standard time) on the premium
due date, shall render this policy void with effect from Inception.

623AFB00082




                                                                                          Page 36
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 46 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      8

                AMENDED INSOLVENCY EXTENSION PERIOD ENDORSEMENT

In consideration of the premium charged for this Policy, it is hereby understood and agreed that
Clause IX. EXTENSIONS TO THE POLICY PERIOD B. is deleted in its entirety and replaced with
the following:

B.    Insolvency Extension Period

      In the event that during the Policy Period a liquidation or reorganization proceeding may be
      commenced by or against the Parent Company, the Parent Company may request an
      extension of the coverage granted by this Policy for a period of up to 72 months.

      Such extension of the coverage shall only be available if:

      1.     the Parent Company provides Underwriters with such information in connection with
             such liquidation or reorganization proceeding as Underwriters may deem necessary;
             and

      2.     the Parent Company accepts any special terms, conditions, exclusions or additional
             premium charge as required by Underwriters; and

      3.     Underwriters, at their sole discretion, agree to provide such coverage.



All other terms and conditions of this Policy remain unchanged.




                                                                                           Page 37
Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 47 of 54




Attaching to and forming part of Policy No:   B0146ERINT2200905

Issued to:           Paper Bird Inc.

Endorsement No.      9

      POLICYHOLDER DISCLOSURE NOTICE OF TERRORISM INSURANCE COVERAGE

Coverage for acts of terrorism is already included in the policy (including any quotation for
insurance) to which this notice applies. You should know that, under the policy, any losses caused
by certified acts of terrorism would be partially reimbursed by the United States under a formula
established by federal law. Under this formula, the United States pays 80% of covered terrorism
losses exceeding the statutorily established deductible paid by the insurer providing the coverage.
However, your policy may contain other exclusions which might affect your coverage, such as
exclusion for nuclear events. The term “act of terrorism” means any act that is certified by the
Secretary of the Treasury, in consultation with the Secretary of Homeland Security and the
Attorney General of the United States, to be an act of terrorism; to be a violent act or an act that is
dangerous to human life, property, or infrastructure; to have resulted in damage within the United
States, or outside the United States in the case of an air carrier or vessel or the premises of a
United States mission; and to have been committed by an individual or individuals, as part of an
effort to coerce the civilian population of the United States or to influence the policy or affect the
conduct of the United States Government by coercion. The Terrorism Risk Insurance Act, as
amended, contains a USD100 billion cap that limits U.S. Government reimbursement as well as
insurers' liability for losses resulting from certified acts of terrorism when the amount of such losses
exceeds USD100 billion in any one calendar year. If the aggregate insured losses for all insurers
exceed USD100 billion, your coverage may be reduced.

The premium allocated for this coverage is USD1.00, part of the overall premium charged for your
policy.

Option to reject terrorism insurance coverage

Your policy automatically provides coverage for claims arising out of acts of terrorism as defined in
the Terrorism Risk Insurance Act of 2002 at no additional cost to you. If you would prefer not to
have such coverage please check the box below, sign where indicated and return this form to your
insurance broker or intermediary. Please note that there will be no reduction in premium if
terrorism coverage is removed from your policy.

                  I hereby elect not to have TRIA coverage under this policy. I understand that I will
                  have no coverage for losses arising from certified acts of terrorism.

                                                                       Paper Bird Inc.

  __________________________________                     _________________________________
    Policyholder / Applicants Signature                            Named Insured

                                                                   B0146ERINT2200905
  ___________________________________
               Print Name                                             Policy Number


  ___________/____________/___________
                  Date

LMA9185 (amended)




                                                                                                Page 38
            Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 48 of 54
Paragon International       Telephone                       Website
Insurance Brokers           +44 (0)20 7280 8200             www.paragonbrokers.com
140 Leadenhall Street       Facsimile                       Email
London EC3V 4QT             +44 (0)20 7280 8270             info@paragonbrokers.com



                                                                           Unique Market Reference:B0146ERINT2200905
                                                                           Date: 5th August 2022

                                                      Page: 1 of 1
________________________________________________________________________________________________________________


Market Security:

Signed Line %        Insurer
__________________________________________________________________________________________


       100.00 %                  Certain Lloyd's Underwriters as per the Schedule below



Schedule of Underwriters at Lloyd’s being:

Signed Line %    Syndicate No. Pseudonym   Syndicate Full Name
__________________________________________________________________________________________


        82.00 %           2623              AFB                 Beazley Syndicate
        18.00 %           0623              AFB                 Beazley Syndicate

        100.00 %




                                                              Please Note

All premiums specified herein exclude U.S. State Surplus Lines Taxes, Self / Direct Procurement Taxes, Federal
Excise Taxes, local Provincial Taxes, Filing Fees and other parafiscal charges unless specifically stated.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
               Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 49 of 54
Paragon International       Telephone                       Website
Insurance Brokers           +44 (0)20 7280 8200             www.paragonbrokers.com
140 Leadenhall Street       Facsimile                       Email
London EC3V 4QT             +44 (0)20 7280 8270             info@paragonbrokers.com




EDGEWOOD PARTNERS INSURANCE CENTER
One California Street
Suite 400
San Francisco
California 94111
United States of America



Contract: B0146ERINT2200905

Date: 9th August 2022

Insured: Paper Bird Inc.

Further to your instructions we have effected the attached amendment to the insurance contract referenced above.

Please examine this amendment carefully and notify us immediately if it is incorrect, or does not meet your
requirements.

Duty to Disclose:

This amendment to your insurance cover is based on the information you provided to us and on which we and the
insurer(s) have relied. If you have not provided to us all material information or you discover that the information
you have provided is inaccurate, please advise us immediately in order that we may seek revalidation of terms with
the insurer(s).

We take this opportunity to remind you that you have a duty to disclose all information which a) is material to the
coverage requirements, b) might influence the insurer(s) in deciding whether or not to accept your business, c)
might affect which terms and conditions the insurer(s) impose, or d) might affect the premium the insurer(s) charge.
This duty to disclose is an ongoing responsibility for the duration of the contract and failure to make such disclosure
may allow the insurer(s) to cancel the policy, avoid a claim or even avoid the contract.

Premium Payment Terms:

If an additional premium is payable then payment of such premium is a condition of the contract. If the insurer(s)
have imposed a payment warranty you must make sure that the additional premium is paid to us early enough to
give us sufficient time to pay the insurer(s). Failure to pay the additional premium or to meet a payment warranty
may enable the insurer(s) to avoid this amendment to the contract.

Claims:

In the event of any claim or circumstance that might lead to a claim, please follow the instructions in the original
contract. If you have any questions relating to claims or doubts as to what constitutes a circumstance then please
contact Simon Witham on +44 (0)20 7280 8227 or switham@paragonbrokers.com

Should you have any questions please feel free to contact us.

Yours sincerely,




Director / Authorised Signatory



Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
                Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 50 of 54




                      PARAGON INTERNATIONAL INSURANCE BROKERS LIMITED



                                                    AMENDMENT TO
                                                CONTRACT OF INSURANCE


Unique Market Reference: B0146 ERINT2200905




Thank you for choosing Paragon International Insurance Brokers Limited for your Insurance requirements.


This document contains an amendment to the terms and conditions of your Insurance. It is a legal document that you
must read to ensure that you understand what is covered and what is excluded by your Insurance.


If you have any questions or concerns please contact us; we would be happy to hear from you.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
                Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 51 of 54




Important Information
(Please Read Carefully)


Material Facts
All material facts must be disclosed to us. Failure to do so may affect your rights under this insurance. A material fact
is a fact likely to influence an insurer in the acceptance or assessment of this Insurance. If you are uncertain whether
a fact is ‘material’, then for your own protection it should be disclosed to us so that we can advise you.


Policy Terms
The coverage afforded by this insurance is subject to all the terms, conditions and exclusions contained in the original
contract. If you have any questions or concerns about this insurance, you should first contact us at the address set
out below.


Subjectivities
If this contract contains subjectivities then you must take the necessary steps to provide the information requested by
insurers and / or comply with their instructions. Failure to comply with the subjectivities may limit or restrict some, or
all, of the coverage under this insurance. In some instances insurers may be able to avoid the contract.


Our Services
We are committed to providing you with a high quality service, which we expect to maintain throughout the duration of
the policy. In order for you to appreciate this level of service we ask that in the first instance you carefully read
through this document to ensure that you understand the extent of the coverage provided, the terms, conditions and
exclusions that apply. In particular please note what is required of you if and when you become aware of a claim, or a
circumstance which may give rise to a claim, being made against you.

Contact Address:
Paragon International Insurance Brokers Ltd.,
140, Leadenhall Street,
London,
EC3V 4QT


Tel:        020 7280 8200
Fax:        020 7280 8270
Email:      info@paragonbrokers.com

.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
    Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 52 of 54
                                                 CONTRACT ENDORSEMENT

Unique Market Reference:                         B0146ERINT2200905
Endorsement Reference:                           001
Original Insured:                                Paper Bird Inc.



                                                      CONTRACT CHANGES

   This contract is amended as follows:



   ENDORSEMENT
   EFFECTIVE DATE:                              4 August 2022 at 12.01 a.m. Local Time at the Principal
                                                Address stated in Item A. of the Declarations.


   CONDITIONS:                                  It is hereby understood and agreed that Endorsement No. 8
                                                ‘Amended Insolvency Extension Period Endorsement’ is
                                                deleted in its entirety and replaced with the attached.


   All other terms and conditions remain unchanged.




                                                                     Page 1



          Paragon International Insurance Brokers Limited, a Lloyd’s broker, authorised and regulated by the Financial Conduct Authority.

                  Registered office 140 Leadenhall Street, London EC3V 4QT. Registered number 3215272 England and Wales
     Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 53 of 54




Attaching to and forming part of Policy No: B0146ERINT2200905

Issued to:            Paper Bird Inc.

Endorsement No.       8

              AMENDED INSOLVENCY EXTENSION PERIOD ENDORSEMENT

In consideration of the premium charged for this Policy, it is hereby understood and agreed
that Clause IX. EXTENSIONS TO THE POLICY PERIOD is amended with the addition of the
following:

E.    Insolvency Extension Period

      In the event that during the Policy Period a liquidation or reorganization proceeding may
      be commenced by or against the Parent Company, the Parent Company may request
      an extension of the coverage granted by this Policy for a period of up to 72 months.

      Such extension of the coverage shall only be available if:

      1.   the Parent Company provides Underwriters with such information in connection
           with such liquidation or reorganization proceeding as Underwriters may deem
           necessary; and

      2.   the Parent Company accepts any special terms, conditions, exclusions or
           additional premium charge as required by Underwriters; and

      3.   Underwriters, at their sole discretion, agree to provide such coverage.


All other terms and conditions of this Policy remain unchanged.
                Case 5:23-cv-05048-SVK Document 1-2 Filed 10/02/23 Page 54 of 54
Paragon International       Telephone                       Website
Insurance Brokers           +44 (0)20 7280 8200             www.paragonbrokers.com
140 Leadenhall Street       Facsimile                       Email
London EC3V 4QT             +44 (0)20 7280 8270             info@paragonbrokers.com



                                                                           Unique Market Reference:B0146ERINT2200905
                                                                           Date: 9th August 2022

                                                      Page: 1 of 1
________________________________________________________________________________________________________________


Market Security:

Signed Line %        Insurer
__________________________________________________________________________________________


       100.00 %                  Certain Lloyd's Underwriters as per the Schedule below



Schedule of Underwriters at Lloyd’s being:

Signed Line %    Syndicate No. Pseudonym   Syndicate Full Name
__________________________________________________________________________________________


        82.00 %           2623              AFB                 Beazley Syndicate
        18.00 %           0623              AFB                 Beazley Syndicate

        100.00 %



                                                              Please Note

All premiums specified herein exclude U.S. State Surplus Lines Taxes, Self / Direct Procurement Taxes, Federal
Excise Taxes, local Provincial Taxes, Filing Fees and other parafiscal charges unless specifically stated.




Authorised and Regulated by the Financial Conduct Authority. Accredited Lloyd’s Broker.
Registered in England at the above address. Company No. 3215272.
Paragon Brokers (Bermuda) Ltd. LOM Building, 27 Reid Street, Hamilton HM 11, Bermuda. Registration No. 33838.
